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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW HAMPSHIRE


Sensa
V.
Twitter                                   Case #


OFFERED BY: Sensa
                                       EXHIBITS


Exhibit A-    Mindi for Congress Advertising Receipts             6 pages
Exhibit B-    Bon Appetite Business Registration                   1 page
Exhibit C-    Notice to Attorney General and Receipt               3 pages
Exhibit D-1   Twitter User Agreement                             40 pages
Exhibit D-2- Twitter hateful conduct policy                       4 pages
Exhibit D-3- Twitter abusive behavior policy                       3 pages
Exhibit D-4- Twitter Glorification of violence policy              3 pages
Exhibit D-5- Twitter's range of enforcement options                4 pages
Exhibit E-    Sensa's Twitter Profile Page                         1 page
Exhibit F-    Sensa's Suspensions                                  3 pages
Exhibit G-    Sensa's Appeal to Twitter                            1 page

Exhibit H-    Sensa Appeal Received and Denied                     2 pages
Exhibit I-    Twitter Rules Enforcement                          50 pages
Exhibit J-    Twitter's Discriminatory Animus Towards "Whites"     7 pages
Exhibit K     Public Perception                                    2 pages

Exhibit L-    White Hate by Blue Check'ers                        15 pages

Exhibit M-    White Hate on Twitter                               13 pages

Exhibit N-    Twitter's Favoritism Towards Non-Whites             14 pages
Exhibit 0-    Hanging                                              5 pages

Exhibit P-    Twitter Facilities                                  22 pages
Exhibit Q-    Dorsey Testimony to Congress                       213 pages
